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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division

   CSX TRANSPORTATION, INC.,
   individually and on behalf of NORFOLK
   & PORTSMOUTH BELT LINE
   RAILROAD COMPANY,

                  Plaintiff,

   v.                                                   Civil Action No. 2:18-cv-530-MSD-RJK

   NORFOLK SOUTHERN RAILWAY
   COMPANY, et al.,

                  Defendants.
                                                /

                                       NOTICE OF APPEAL

          Pursuant to Rule 4 of the Federal Rules of Appellate Procedure, Plaintiff CSX

   Transportation, Inc. (“CSX”) notes its appeal to the United States Court of Appeals for the Fourth

   Circuit from the final judgment in this case, which embraces, but is not limited to, the Judgment

   in a Civil Case filed on April 26, 2023, ECF No. 644; the Court’s Opinion and Order of January

   3, 2023, granting Defendants’ motions for summary judgment in part, ECF No. 559; the Court’s

   Opinion and Order of January 27, 2023, granting the Defendants’ motions seeking dismissal of

   CSX’s federal antitrust injunctive relief claims, ECF No. 613; and the Court’s Opinion and Order

   of April 19, 2023, granting the Defendants’ motions seeking dismissal of the remaining state law

   claims for injunctive relief, ECF No. 643.




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   Dated: May 16, 2023          Respectfully submitted,


                                       CSX TRANSPORTATION, INC.
                                       By Counsel

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                                  CERTIFICATE OF SERVICE

          I certify that on this 16th day of May, 2023, a true and correct copy of the foregoing was

   served on all counsel of record via Notice of Electronic Filing by filing with the Court’s CM/ECF

   system.


                                               CSX TRANSPORTATION, INC.
                                               By Counsel

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